Case 1:03-md-01570-GBD-SN   Document 10594-15   Filed 12/09/24   Page 1 of 2




                             Exhibit 15
Plaintiffs’ Corrected Averment of Jurisdictional Facts and Evidence
      and/or Statement of Facts as to Defendant Al Rajhi Bank
                       Pursuant to Rule 56.1
                                                !"#$%&'()0123456789@ABCDEFGH
                                                                                         
         Case 1:03-md-01570-GBD-SN                  Document 10594-15                                Filed 12/09/24                       Page 2 of 2
 012 3415167
  899                                                        I P7    Q7   RS7 TU7V WX7Y7       c7
                                                                                            a1
                                                                                            `
                                                                                                b
 defghip qrst uvwpxyp  p                                                                           1 1 11111
                                                                                                       1

                                                                                                               17                      3
                                                                                                                                      77defgh7

                                                                                                                                                                        
                                                                                                     | }~ ~ r
                                                                                                                              1 1
                                                                                                                                                                  i1
                                                                                                                                                                     t
jklmnopqrstruvrx yz{r
                                                                                                                                                          `7


                             w1                                                                                                                                    t
                                                                                                                                                                   

                t t
                tt t


                ¡¢£¤ ¥ ¦§¨©ª «¬
                ­®¯°±²³´µ¶·¸¹º»¼½
                ¾¿ÀÁÂÃÄÅÆÇÈÉÊtËÌÍÎÏÐÑÒÓÔÕÖ
                ×ØÙÚÛtÜÝÞß àáâ
                ãäåæçèéêëìí
                îïðñòóôõ
                ö÷øù

                úûüýtþ012345t67t89
                 !t"#$%&'()0   123456789@ABCDEFGEHIPQRSTU
                VWXYtàbcdefghipqrsttuvwxy 
                                                      defghijklmnopqrstuvwxyt
                z{t| } ~
                 t tt¡¢r£¤¥¦§¨r©ª «¬­t®¯ p°±²³´µ¶·¸¹º» t
                ¼½¾¿ÀÁÂÃÄÅÆÇÈÉ¿ÊËÌtÍÎÏÐÑÒtÓÔÕÖ×ØÙÚÙÛÜÝÞßàátâãtäåtæåçtèéêëìíîïðñò
                óóóôõö÷øùúûüýþ012345677789 t !"#$%&'()01234567t8t9·@A·BC Dt
                EFGHtIPQRSTUVtWXY`abcdtefghipqrst


                tuvwxytt

                defghijtklmnopqt



                                             rstupuvwpuxypzp {|}p~}p                                                                             ppp1p pp

                                 ¡¢£ ¤¥¦§¢¨©¤¡¦¦ ª«¬ ¦¤¡¦§­¤¬¤¬                                                                   ¾¿pÀÀÀÁÂÃÄp
                             ¬¤®ª¬§¥®¡ ¥¯§¤¥¦§ª°§¥¯ ¬£ ª¦§ ¥§¥±²³ ´µ¶±·¸¹º¹§¦¬§¡¦ ¢¬¦
                                             ¯ ¬¦¤º ¢¦¤¬¥§¦¬§¡¦ ¯¤» ¼ ¬½¹
